               Case 3:14-mj-05015-TJB                                  Document 71                       Filed 03/27/14                     Page 1 of 1 PageID: 125
 ttit.CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL
                                                                                                                                     VOUCHER NUMBER

                                                                                                        5. APPEALS DKT./DEF. NUMBER                        6. OTHER DKT. NUMBER

                                                                                                        9. TYPE PERSON REPRESENTED                         10. REPRESENTATION TYPE
                                                                                                        X Adult Defendant                0 Appellant           (See Instructions)
                                                                                                        0 Juvenile Defendant             0 Appellee                  cc
                                 (Cite U.S. Code, Tide & Section) Ifmore than one offense, list (up to five) major offenses charged, according to severity of offense.
    21:846 CONSPIRACY TO DISTRIBUTE HEROIN (FEBRUARY 2013-MARCH 2014)
 12. ATTORNEY'S NAME {First Name, MI., Last Namelf!!JJ:Ifl!:!t!J~                                       13. COURT ORDER
     AND MAILING ADDRESS                               6 V     n                                          X 0 Appointing Counsel                           0 C Co-Counsel
      John Holliday, Esq.                                                                                 D F Subs For Federal Defender                    DR Subs For Retained Attorney
                                                                                                          D P Subs For Panel Attorney                      0 Y Standby Counsel
      Golden Crest Corporate Center
      2273 Route 33, Suite 207
                                                                       MAR 2 5 2014                     Prior Attorney's

                                                                                                          0Ap~mwem~=------------------~---
      Trenton, NJ 08690                                        AT 8:30                             M        Because the above-named person represented has testified under oath or has otherwise
     Telephone Number: _ _ _ _ _ _6_o_9.--5;.;~~;;....;o.;.-~_T_.w_A_L_S_H_C_L_E_RK                       satisfied this Cowt that he or she ( 1) is financially unable to employ counsel and (2) does not
                                                                                                          wish to waive counsel, and because the in sts of justice so require, th           ey whose
t-1-4.--N-AME---AND---MAILIN-----G-AD_D_RE_S_S_O_F_LA
                                                  __W__ ___~_Vn_/_y_p-ro-vz-.de-pe
                                                      FIRM                     __        __ct-io_ns_)_--4 name appears in Item 12 is appointed t
                                                                                   r_ins_tru                                                                                   ---.r-11..
                                                                                                                                                               t this person . ,·_
                                                                                                          0 Other (See Jnstructi     ~




                                                                                                                          3a7/14
                                                                                                                       Date of Order                              Nunc Pro Tunc Date
                                                                                                        Repaymem or partial repaymem ordered from the person represented for this service at time
                                                                                                        appomwent.         0 YES 0 NO

                                                                                                                                         ~~
       CATEGORIES (Attach itemization ofservices with dates)




                                                                                                                                                                       21. CASE DISPOSmON

                                                         TO:
22. CLAIMSTATUS                     D Final Payment                D Interim Payment Number                                               0 Supplemental Payment
     Have you previously applied to the cowt for compensation and/or reimbursement for this      0 YES 0 NO                 If yes, were you paid? DYES            0 NO
     Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
     representation? 0 YES         0 NO            If yes, give details on additional sheets.
     I swear or affirm the truth or correctness of tbe above statements.




                                                                            25. TRAVEL EXPENSES                                                            27. TOTAL AMT. APPRJCERT.

   . SIGNATURE OF THE PRESIDING JUDICIAL OFFICER                                                                 DATE                                      28a JUDGE/MAG. JUDGE CODE

                                       30. OUT OF COURT COMP.               31. TRAVEL EXPENSES                  32. OTHER EXPENSES                        33. TOTAL AMT. APPROVED

     SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                   DATE                                      34a JUDGE CODE
     in excess ofthe statutory threshold amount.
